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November 24, 2020

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: Giuffre v. Maxwell, No. 15 Civ. 7433 (LAP)
    Unopposed Request for Two (2) Day Extension of Time to file Reply

Dear Judge Preska:

        On behalf of Ghislaine Maxwell, I write to request a brief two (2) day extension of
time within which to file a reply in support of Ms. Maxwell’s Objections to Unsealing (DE
1149), to and including December 1, 2020. Counsel for plaintiff does not object to the
extension.

        Under the updated Order and Protocol for Unsealing Decided Motions (DE 1108), any
reply in support of an objection to unsealing filed by an Original Party is due “within 7 days
of service” of the opposition to such an objection. Id. ¶ 2(f). Plaintiff served her opposition to
unsealing on November 19, 2020, thus any reply currently is due November 27. That day is
the day after Thanksgiving.

       Because defense counsel’s office is scheduled to be closed for the holiday weekend
during that period of time, we request a brief two (2) extension of the deadline for the reply
within which to finalize the supporting memorandum of law and exhibits. Counsel for Ms.
Maxwell hereby respectfully requests the Court extend the period for the reply to and
including December 1, 2020.

                                              Respectfully submitted,



                                              Laura A. Menninger

CC: Counsel of Record via ECF
